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 Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                             for the
                                                  Central District of California

    DRAGANA BARONS AND D.B.                                              Civil Action No. 2.22-CV-07440-MWF-PD,c
    via guardian ad litem CHRISTOPHER T. BARONS
                                                                       1. MOTOR VEHICLE
                           Plaintifj(s)                                2. NEGLIGENCE PER SE
                               v.                                      3. INTENTIONAL TORT
LOS ANGLES COUNTY SHERIFF'S DEPARTMENT, ALEX                           4. FILING FALSE CLAIM - 4 3729
VILLINUEVA, DEPUTY DST. SCOTT W. SHEAN #517840                         5. MUNICIPAL LIABILITY
and DEPUTY DST. ROGER SCHALKZ #463456; GEICO                            (Monell Liability) FOR FAILURE TO
INSURANCE COMPANY, MERCURY GENERAL CORP.;                                 TRAIN AND DISCIPLINE
PETER CHARLES HERRERA, LISA ELLYN FRIEDMAN;                               DEPUTIES/OFFICERS
AND DOES 1-10                                                          6. CONSPIRACY
                             Defendants)
                                                                              JURY TRIAL DEMANDED

                                                        SUMMONS 1N A CIVIL ACT10N

To: (Defendnnt's name and nddress)
                                     Peter Charles Herrera
                                     6835 VARIEL AVE APT 38
                                     CANOGA PARK, CA 91303




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Christopher T. Barone guardian ad litem
                                for D.B.
                                5523 Old Salt Ln.
                                 Agoura Hills, CA 91301
                                (818)661-9721


       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
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Civil Action No.

                                                 PROOF OF SERVICE
                  (This section should not befiled with the court unless required by Fed. R. Civ P.4(l))

          T1115 SUtT1IT10riS fOY (name ofindividual and title, ifany)

was received by me on (dare)

          ~ I personally served the summons on the individual at (p[o~e)
                                                                                 on (date)                           ; or

          f I left the summons at the individual's residence or usual place of abode with (name)
          7
                                                                   a person of suitable age and discretion who resides there,
          on (dare)                             ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindividual)                                                                        who is
           designated by law to accept service of process on behalf of(name oforganiZation)
                                                                                 on (dare)                            or

          ~ I returned the summons unexecuted because                                                                              or

          ~ Other (speci,/y):




          My fees are $                         for travel and $                     for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.


Date
                                                                                             Server's signature



                                                                                        Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc:
